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                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE MIDDLE DISTRICT OF ALABAMA
                                  NORTHERN DIVISION

JESSE RODRIQUEZ YATES, #183578,                  )
                                                  )
            Plaintiff,                            )
                                                 )
    v.                                           ) CIVIL ACTION NO. 2:21-CV-243-WHA
                                                 )
OFFICER COBB, et al.,                            )
                                                 )
            Defendants.                          )

                                               ORDER

          On May 4, 2021, the Magistrate Judge entered a Recommendation (Doc. #4) to

 which no timely objections have been filed. After an independent review of the file and

 upon consideration of the Recommendation, it is ORDERED that:

         1. The Recommendation of the Magistrate Judge is ADOPTED.

         2. This case is DISMISSED without prejudice for Plaintiff’s failure to pay an initial

partial filing fee as ordered by this court.

         A separate Final Judgment will be entered.

         DONE this 25th day of May, 2021.




                              /s/ W. Harold Albritton
                              SENIOR UNITED STATES DISTRICT JUDGE
